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 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA
10
11                                             )   Case No.
     ZAHAVA ROSENFELD,
12                                             )
                                               )
13                   Plaintiff,                )
                                               )   COMPLAINT FOR
14                                             )   VIOLATIONS OF THE
                     vs.                       )   FEDERAL SECURITIES
15                                             )   LAWS
     DEL TACO RESTAURANTS, INC.,               )
16                                             )   JURY TRIAL DEMANDED
     JOSEPH STEIN, VALERIE L.                  )
17   INSIGNARES, ARI B. LEVY, R.J.             )
     MELMAN, JOHN D. CAPPASOLA,                )
18                                             )
     JR., LAWRENCE F. LEVY, EILEEN             )
19   APTMAN, and KAREN L. LUEY,                )
                                               )
20                                             )
                           Defendants.
21
22
           Plaintiff Zahava Rosenfeld (“Plaintiff”), on behalf of herself and all others
23
     similarly situated, upon information and belief, including an examination and inquiry
24
25 conducted by and through her counsel, except as to those allegations pertaining to
26
     Plaintiff, which are alleged upon personal belief, alleges the following for her
27
     Complaint:
28
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 1                              NATURE OF THE ACTION

 2         1. This is an action brought by Plaintiff against Del Taco Restaurants, Inc. (“Del
 3
     Taco” or the “Company”) and the members of Del Taco’s Board of Directors (the
 4
 5 “Board” or the “Individual Defendants”) for their violations of Sections 14(a) and 20(a)
 6 of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a),
 7
     78t(a), and U.S. Securities and Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R.
 8
 9 § 240.14a-9, and to enjoin the vote on a proposed transaction, pursuant to which Del
10 Taco will be acquired by Jack in the Box Inc. (“Jack in the Box” or “Parent”), through
11
   Jack in the Box’s subsidiary Epic Merger Sub Inc. (“Merger Sub”) (the “Proposed
12
13 Transaction”).
14         2. On December 6, 2021, Del Taco and Jack in the Box issued a joint press
15
     release announcing that they had entered into an Agreement and Plan of Merger dated
16
17   December 5, 2021 (the “Merger Agreement”) to sell Del Taco to Jack in the Box.
18   Under the terms of the Merger Agreement, Del Taco stockholders will receive $12.51
19
     in cash for each share of Del Taco common stock they own. The Proposed Transaction
20
21   is valued at approximately $575 million.
22         3. On January 28, 2022, Del Taco filed a Schedule 14A Definitive Proxy
23
     Statement (the “Proxy Statement”) with the SEC. The Proxy Statement, which
24
25 recommends that Del Taco stockholders vote in favor of the Proposed Transaction,
26 omits or misrepresents material information concerning, among other things: (i) the
27
   background of the Proposed Transaction; and (ii) Piper Sandler & Co.’s (“Piper”)
28
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 1 potential conflicts of interest. Defendants authorized the issuance of the false and
 2 misleading Proxy Statement in violation of Sections 14(a) and 20(a) of the Exchange
 3
     Act.
 4
 5          4. In short, unless remedied, Del Taco’s public stockholders will be irreparably

 6 harmed because the Proxy Statement’s material misrepresentations and omissions
 7
     prevent them from making a sufficiently informed voting or appraisal decision on the
 8
 9 Proposed Transaction. Plaintiff seeks to enjoin the stockholder vote on the Proposed
10 Transaction unless and until such Exchange Act violations are cured.
11
                             JURISDICTION AND VENUE
12
13       5. This Court has jurisdiction over the claims asserted herein for violations of

14 Sections 14(a) and 20(a) of the Exchange Act and Rule 14a-9 promulgated thereunder
15
   pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. §1331
16
17 (federal question jurisdiction).
18          6. The Court has jurisdiction over defendants because each defendant is either a
19
     corporation that conducts business in and maintains operations in this District, or is an
20
21 individual who has sufficient minimum contacts with this District so as to render the
22 exercise of jurisdiction by this Court permissible under traditional notions of fair play
23
   and substantial justice.
24
25          7. Venue is proper in this District under Section 27 of the Exchange Act, 15
26 U.S.C. § 78aa, as well as under 28 U.S.C. § 1391 because: (i) the Company maintains
27
   its principal executive offices in this District; (ii) one or more of the defendants either
28
                                               -3-
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 1 resides in or maintains executive offices in this District; and (iii) defendants have
 2 received substantial compensation in this District by doing business here and engaging
 3
     in numerous activities that had an effect in this District.
 4
 5                                       THE PARTIES

 6         8. Plaintiff is, and has been at all times relevant hereto, a continuous stockholder
 7
     of Del Taco.
 8
 9         9. Defendant Del Taco is a Delaware corporation, with its principal executive

10 offices located at 25521 Commercentre Drive, Lake Forest, California, 92630. The
11
   Company develops, franchises, owns, and operates Del Taco quick-service Mexican-
12
13 American restaurants in the United States. Del Taco’s common stock trades on the
14 Nasdaq Capital Market under the ticker symbol “TACO.”
15
          10. Defendant Joseph Stein (“Stein”) has been a director of the Company
16
17 since June 2015.
18         11.      Defendant Valerie L. Insignares (“Insignares”) has been a director of the
19
     Company at all relevant times.
20
21         12.      Defendant Ari B. Levy (“Ari Levy”) has been a director of the Company
22 since November 19, 2013. Defendant Ari Levy previously served as the Company’s
23
   President and Chief Investment Officer from September 30, 2013 until June 2015.
24
25         13.      Defendant R.J. Melman (“Melman”) has been a director of the Company
26 since June 2015.
27
28
                                  -4-
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 1         14.   Defendant John D. Cappasola, Jr. (“Cappasola”) has been President of the

 2 Company since January 2017, and Chief Executive Officer (“CEO”) and a director of
 3
     the Company since July 2017.
 4
 5         15.   Defendant Lawrence F. Levy (“Lawrence Levy”) has been Chairman of

 6 the Board and a director of the Company since November 19, 2013. Defendant
 7
     Lawrence Levy previously served as the Company’s CEO from August 2, 2013 until
 8
 9 June 2015.
10         16.   Defendant Eileen Aptman (“Aptman”) has been a director of the Company
11
     since June 2015.
12
13         17.   Defendant Karen L. Luey (“Luey”) has been a director of the Company

14 since July 14, 2021.
15
          18. Defendants identified in paragraphs 10-17 are referred to herein as the
16
17 “Board” or the “Individual Defendants.”
18                           OTHER RELEVANT ENTITIES
19
           19.   Jack in the Box is a Delaware corporation, with its principal executive
20
21 offices located at 9357 Spectrum Center Blvd., San Diego, California 92123. Jack in
22 the Box operated and franchised 2,218 Jack in the Box quick-service restaurants as of
23
   October 3, 2021, primarily in the western and southern United States, including one
24
25 franchise in Guam. Jack in the Box derives revenue from retail sales at Jack in the Box
26 company-operated restaurants and rental revenue, royalties (based upon a percent of
27
   sales), franchise fees and contributions for advertising and other services from
28
                                          -5-
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 1 franchisees. In addition, Jack in the Box recognizes gains or losses from the sale of
 2 company-operated restaurants to franchisees. Jack in the Box’s common stock trades
 3
     on the Nasdaq Global Select Market under the ticker symbol “JACK.”
 4
 5         20.   Merger Sub is a Delaware corporation and a direct wholly owned

 6 subsidiary of Jack in the Box.
 7
 8                         SUBSTANTIVE ALLEGATIONS

 9 Background of the Company
10
          21. Del Taco is a nationwide operator and franchisor of restaurants featuring
11
   fresh and fast made-to-order cuisine, including both Mexican-inspired and American
12
13 classic dishes. As of December 29, 2020, there were 596 Del Taco restaurants, a
14
     majority of which are located in the Pacific Southwest. The Company serves high-
15
     quality, freshly prepared food typical of fast casual restaurants but with the speed,
16
17 convenience and value associated with traditional quick service restaurants (“QSRs”).
18
     With attributes of both a fast casual restaurant and a QSR, Del Taco occupies a place
19
     in the restaurant market distinct from most competitors. Company food is prepared in
20
21 working kitchens where guests see cooks grilling marinated chicken and steak,
22
     chopping tomatoes and cilantro for salsa, grating cheddar cheese, slicing avocados and
23
24 slow-cooking whole pinto beans.
25         22.   Del Taco’s menu offers a combination of Mexican-inspired food, such as
26
     tacos and burritos, and American classics, such as “Double Del” cheeseburgers,
27
28 crinkle-cut fries and milkshakes. Additionally, the Company’s menu features both
                                          -6-
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 1 premium items such as Beyond Tacos, Del Taco’s signature plant-based protein taco,
 2 Platos plated meals, Epic Burritos, Handcrafted Ensaladas and Fresca Bowls, as well
 3
     as lower priced items on the Del’s Dollar Deals menu. While the lower priced items
 4
 5 appeal to a value-oriented customer, the Del’s Dollar Deals menu is also designed to
 6 increase the average check by offering variety for customers wishing to supplement
 7
     their order with an additional menu item. The Company’s tiered pricing strategy is
 8
 9 designed to appeal to customers from a wide variety of socio-economic backgrounds
10 and price sensitivities.
11
         23. On October 14, 2021, Del Taco announced its fiscal third quarter 2021
12
13 financial results. Total revenue increased 2.9% to $124.3 million compared to $120.8
14 million in the fiscal third quarter 2020. Comparable restaurant sales increased 1.8%
15
   system-wide, increased 1.6% at company-operated restaurants, and increased 2.0% at
16
17 franchised restaurants. Company-operated restaurant sales were $112.0 million,
18 representing 2.2% growth from the fiscal third quarter 2020. The Board authorized a
19
   quarterly cash dividend of $0.04 per share of common stock payable on November 24,
20
21 2021, to shareholders of record at the close of business on November 3, 2021.
22 Reflecting on the Company’s results and looking towards the future, defendant
23
   Cappasola stated:
24
25         We have made significant progress in signing new franchise development
26         agreements, having signed a total of seven so far this year, including four
27
           since July, for a total of 53 new future Del Taco restaurant commitments
28
                                  -7-
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 1       across six states from coast to coast. Accelerating franchise development

 2       with experienced operators looking to diversify their portfolios through
 3
         our unique QSR+ positioning is a critical part of our growth and these new
 4
 5       agreements further support our stated goal of 5% system-wide new unit

 6       growth led by franchising beginning in 2023.
 7
 8
 9       We are pleased with our positive third quarter comparable restaurant sales

10       as we lapped strong performance driven by our very successful launch of
11
         Crispy Chicken, as well as our momentum thus far in the fourth quarter.
12
13       Notable product innovation during the third quarter included new Double

14       Cheese Breakfast Tacos and new Stuffed Quesadilla Tacos, and we plan
15
         to follow these introductions with the return of our seasonal, limited-time
16
17       Tamales menu beginning in November.
18
19
         We recently launched our new holistic CRM platform and introduced our
20
21       new loyalty App called Del Yeah! Rewards, a points-based loyalty
22       program with four tiers that unlock exciting offers, rewards and
23
         experiences which increase along with usage of the app. We are confident
24
25       that the App will enable us to not only strengthen our guest engagement
26       but also increase sales and frequency over time.
27
28
                                -8-
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 1 The Proposed Transaction
 2        24.    On December 6, 2021, Del Taco and Jack in the Box issued a joint press
 3 release announcing the Proposed Transaction. The press release states, in relevant part:
 4
 5        SAN DIEGO & LAKE FOREST, Calif.--Jack in the Box Inc. (NASDAQ:
 6
          JACK), one of the nation’s leading QSR chains, and Del Taco
 7
 8        Restaurants, Inc. (NASDAQ: TACO), the nation’s second largest
 9        Mexican QSR chain by number of restaurants, today announced that the
10
          companies have entered into a definitive agreement pursuant to which
11
12        Jack in the Box will acquire Del Taco for $12.51 per share in cash in a
13        transaction valued at approximately $575 million, including existing debt.
14
          While this price per share offers an attractive premium to Del Taco
15
16        shareholders, Jack in the Box estimates that the transaction values Del
17        Taco at a synergy adjusted multiple of approximately 7.6x trailing twelve
18
          months Adjusted EBITDA.
19
20
          Founded in 1964, Del Taco serves more than three million guests each
21
22        week at its approximately 600 restaurants across 16 states. 99% of Del
23        Taco restaurants feature a drive-thru, helping to achieve strong off-
24
          premise sales and a diversified daypart mix. Jack in the Box and Del Taco
25
26        will have more than 2,800 restaurants spanning 25 states with similar
27        guest profiles, menu offerings and company cultures – both priding
28
                                 -9-
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  1       themselves on serving guests with unique variety, quality, innovation and

  2       value. Together, the companies will create a stronger QSR player with
  3
          greater scale and the ability to enhance the guest experience while
  4
  5       pursuing profitable growth.

  6
          “We are thrilled to welcome Del Taco, a beloved brand and proven
  7
  8       regional winner, to the Jack in the Box family,” said Darin Harris, CEO
  9
          of Jack in the Box. “This is a natural combination of two like-minded,
 10
 11       challenger brands with outstanding growth opportunities. Together, Jack

 12       in the Box and Del Taco will benefit from a stronger financial model,
 13
          gaining greater scale to invest in digital and technology capabilities, and
 14
 15       unit growth for both brands. This acquisition fits squarely in our strategic

 16       pillars and helps us create new opportunities for the franchisees, team
 17
          members and guests of both brands.”
 18
 19
          Mr. Harris continued, “Del Taco has a loyal, passionate guest base and a
 20
          strong operating model, and we believe that we can leverage our
 21
 22       infrastructure, experience refranchising, and development strategy to
 23
          support Del Taco’s growth plans and expand Del Taco’s footprint. We
 24
 25       can’t wait to welcome the Del Taco team members and franchisees to the

 26       Jack family!”
 27
 28
                                 - 10 -
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  1       David Beshay, a Jack in the Box franchisee and operator of 210+

  2       restaurants, added, “I couldn’t be happier about the opportunity that this
  3
          transaction offers to the franchisees of these two amazing brands. I
  4
  5       believe the Del Taco brand will fit hand in glove with ours, and further

  6       enhance the strong franchise and guest-focused culture we have worked
  7
          so hard to develop at Jack in the Box. We are excited about the potential
  8
  9       to open Del Taco restaurants, helping the company expand these two

 10       beloved brands.”
 11
 12       John D. Cappasola, Jr., President and CEO of Del Taco, said, “We are
 13
          excited to have found a partner in Jack in the Box that shares our vision
 14
 15       for the future and has the QSR expertise to further accelerate Del Taco’s

 16       growth. In recent years, we have uniquely positioned Del Taco as a leader
 17
          in the growing Mexican QSR category, expanded our digital capabilities
 18
 19       to enhance consumer convenience and focused on growing the brand

 20       through franchising, resulting in eight consecutive years of franchise same
 21
          store sales growth and an accelerating new unit pipeline.”
 22
 23
          Mr. Cappasola, Jr. continued, “We expect this transaction will provide Del
 24
 25       Taco with the scale, complementary capabilities and opportunity to

 26       become even stronger partners to our franchisees and support their ability
 27
          to drive substantial growth in our core and emerging markets. On behalf
 28
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  1       of Del Taco Restaurants, Inc. Board of Directors, we’re confident the

  2       agreement delivers immediate value to Del Taco shareholders and will
  3
          greatly benefit our brand, team members, franchisees and loyal guests for
  4
  5       many years to come.”

  6
          Brent Veach, a Del Taco franchisee and operator of 50+ restaurants,
  7
  8       shared, “Del Taco and Jack in the Box are two iconic brands that both
  9
          represent a tremendous business opportunity for existing and new
 10
 11       franchisees. I am excited how this new larger organization can provide

 12       operating cost synergies and further accelerate franchise growth through
 13
          enhanced support, additional resources and shared real estate knowledge.
 14
 15       We are excited to join the Jack in the Box family and assist in growing

 16       both amazing brands.”
 17
 18       Compelling Strategic and Financial Benefits
 19
 20       The transaction is expected to:
 21
 22       •   Deliver   Immediate        Earnings   Accretion   with    Significant
 23           Upside. Jack in the Box expects the transaction to be mid-single-digit
 24
              accretive to earnings per share excluding transaction expenses in year
 25
 26           one and meaningfully accretive beginning in year two once full
 27           synergizes are realized.
 28
                                 - 12 -
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  1       •   Create a Stronger QSR Player with Enhanced Scale. This

  2           transaction combines two challenger brands with complementary
  3
              geographic footprints, guest profiles and menu offerings to create a
  4
  5           scaled QSR player with a stronger financial model to drive growth and

  6           enhanced profitability. Jack in the Box and Del Taco will also benefit
  7
              from sharing best practices and the opportunity to strengthen guest
  8
  9           loyalty and reach new guests. As a combined QSR player, Jack in the

 10           Box and Del Taco plan to expand their footprint and continue to drive
 11
              innovation at both brands to create more unique, innovative menus and
 12
 13           exceptional guest experiences.

 14
 15       •   True QSR in the Expanding Mexican Category with a Track

 16           Record of Consistent Growth. The transaction allows Jack in the
 17
              Box to tap into the growing and attractive Mexican QSR category,
 18
 19           where Del Taco has been a leading brand with a track record of

 20           consistent performance. By leveraging the combined scale of the
 21
              companies, we will be able to effectively target secular demographic
 22
 23           trends underpinning the category.

 24
 25       •   Reinforce Unit Growth Plans for Both Brands. By leveraging Jack

 26           in the Box and Del Taco’s unique strengths and their shared approach
 27
              to building out markets, Jack in the Box will be able to support growth
 28
                                 - 13 -
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  1           plans for both brands. Jack in the Box will benefit from Del Taco’s

  2           strong operations, construction, and development expertise to drive
  3
              more efficient expansion supporting its long-term objective of 4%
  4
  5           annual unit growth by 2025. By leveraging Jack in the Box’s broader

  6           footprint, re-franchising experience, and digital capabilities, the
  7
              combined company expects to drive energized growth at both brands
  8
  9           in existing and new markets.

 10
 11       •   Create Substantial Opportunities for Franchisee Expansion and

 12           Unit Level Economics.          The transaction brings together two
 13
              exceptional franchisee bases and creates an enhanced platform for
 14
 15           franchisee expansion and growth by leveraging the combined

 16           company’s scale, technology and digital capabilities. Both brands’
 17
              franchisees will benefit from economies of scale in supply chain and
 18
 19           more diverse opportunities to expand their businesses and drive

 20           enhanced profitability. The transaction will enable both brands to
 21
              provide stronger support to franchisees with a broader set of resources
 22
 23           to help them optimize and grow their businesses.

 24
 25       •   Build a Stronger, More Flexible Financial Model. The transaction

 26           will create a stronger combined organization, with increased size and
 27
              scale, and the financial resources to pursue a wider set of opportunities
 28
                                 - 14 -
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  1           for profitable growth. Jack in the Box expects that the combined

  2           organization will also benefit from a more efficient capital structure.
  3
              Jack in the Box expects to maintain a leverage ratio within its target
  4
  5           range of 4.0x to 5.5x total debt to Adjusted EBITDA and an investment

  6           grade credit rating.
  7
  8       •   Drive Meaningful Synergies. Jack in the Box expects the combined
  9
              company to realize run-rate strategic and cost synergies of
 10
 11           approximately $15 million by the end of fiscal year 2023, with

 12           approximately half of the synergies achieved in the first year. Jack in
 13
              the Box expects to achieve these synergies largely through
 14
 15           procurement and supply chain savings, technology and digital

 16           efficiencies and other financial benefits, as well as knowledge-sharing
 17
              initiatives.
 18
 19
          Financing and Path to Completion
 20
 21       Jack in the Box intends to finance the acquisition through the issuance of
 22
          additional securitization notes from its existing program with a financing
 23
 24       commitment provided by BofA Securities, Inc.
 25
 26
 27
 28
                                 - 15 -
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  1         The transaction is expected to close in the first calendar quarter of 2022

  2         and is subject to customary closing conditions, including receipt of Del
  3
            Taco shareholder approval and regulatory approvals.
  4
  5
            Advisors
  6
  7         BofA Securities is serving as exclusive financial advisor and Gibson,
  8
            Dunn & Crutcher LLP is serving as legal advisor to Jack in the Box. Piper
  9
 10         Sandler & Co. is serving as exclusive financial advisor and McDermott
 11
            Will & Emery LLP is serving as legal advisor to Del Taco.
 12
 13 Insiders’ Interests in the Proposed Transaction
 14
          25. Del Taco insiders are the primary beneficiaries of the Proposed
 15
 16 Transaction, not the Company’s public stockholders. The Board and the Company’s
 17 executive officers are conflicted because they will have secured unique benefits for
 18
    themselves from the Proposed Transaction not available to Plaintiff and the public
 19
 20 stockholders of Del Taco.
 21         26.   Notably, pursuant to the Merger Agreement, all outstanding Company
 22
      options, accelerating restricted stock awards (“RSAs”), and performance-based
 23
 24 restricted stock units (“PSUs”) will vest and convert into the right to receive the Merger
 25
      Consideration.   The estimated aggregate amount that would be payable to the
 26
      Company’s seven non-employee directors in settlement of their unvested Company
 27
 28
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  1 equity awards that will be outstanding as of the effective time is $933,534. The
  2 following table summarizes the value of equity awards that the Company’s named
  3
      executive officers stand to receive if they are terminated upon closing of the merger:
  4
  5
  6
  7
  8
  9
            27.    Further, if they are terminated in connection with the Proposed
 10
 11 Transaction, Del Taco’s named executive officers stand to receive substantial cash
 12 severance payments in the form of golden parachute compensation, as set forth in the
 13
    following table:
 14
 15
 16
 17
 18
 19 The Proxy Statement Contains Material Misstatements or Omissions
 20         28.    The defendants filed a materially incomplete and misleading Proxy
 21
      Statement with the SEC and disseminated it to Del Taco’s stockholders. The Proxy
 22
 23 Statement misrepresents or omits material information that is necessary for the
 24 Company’s stockholders to make an informed decision whether to vote in favor of the
 25
    Proposed Transaction or seek appraisal.
 26
 27
 28
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  1         29.    Specifically, as set forth below, the Proxy Statement fails to provide

  2 Company stockholders with material information or provides them with materially
  3
      misleading information concerning: (i) the background of the Proposed Transaction;
  4
  5 and (ii) Piper’s potential conflicts of interest.
  6 Material Omissions Concerning the Background of the Proposed Transaction
  7
            30.    The Proxy Statement omits material information regarding the sale
  8
  9 process leading to the Proposed Transaction.
 10         31.    For example, the Proxy Statement sets forth that “[t]hirty-five potential
 11
      acquirors, including Parent, executed confidentiality agreements with the Company . .
 12
 13 . [that] contained standstill provisions that did not automatically terminate following
 14 the execution of the merger agreement, and each restricted the respective counterparty
 15
    from requesting the Company to amend or waive the agreed-upon standstill during the
 16
 17 applicable standstill periods.” Proxy Statement at 27.
 18         32.    The Proxy Statement fails, however, to disclose: (i) whether, prior to their
 19
      execution, the Board was apprised that the confidentiality agreements executed with
 20
 21 thirty-five potential acquirers, including Parent, contained don’t-ask-don’t-waive
 22 (“DADW”) standstill provisions; and (ii) if so, the Board’s rationale for having DADW
 23
    standstill provisions included in the confidentiality agreements entered into with thirty-
 24
 25 five potential acquirers, including Parent. In re Ancestry.com, Inc. S’holder Litig.,
 26 Consol. C.A. No. 7988, at 228 (Del. Ch. Dec. 17, 2012) (Transcript) (“Ancestry”).
 27
 28
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  1           33. Additionally, the Proxy Statement sets forth, as a reason for the

  2 recommendation of the Proposed Transaction by the Board, the Board’s view that:
  3
            • [] the terms of the merger agreement would not preclude or
  4
  5            unreasonably restrict a superior offer from another party, considering:

  6            o [the Board’s] right under the merger agreement to respond to third
  7
                  parties submitting unsolicited acquisition proposals by providing
  8
  9               non-public information subject to an acceptable confidentiality
 10               agreement, and to engage in negotiations or substantive discussions
 11
                  with any such person, if [the Board], prior to taking any such
 12
 13               actions, determines in good faith (after consultation with its
 14               financial advisor and legal counsel) that (i) the failure to take such
 15
                  action is reasonably likely to be inconsistent with the directors’
 16
 17               fiduciary duties under applicable law and (ii) the competing
 18               proposal either constitutes a superior proposal or could reasonably
 19
                  be expected to lead to a superior proposal[.]
 20
 21 Id. at 33-34. This representation by the Board is false or misleading with respect to the
 22 thirty-four potential acquirers who are restricted from making a topping bid for the
 23
    Company through the DADW standstill provisions in each of their confidentiality
 24
 25 agreements. The Proxy Statement requires additional disclosure to clarify that absent
 26 the Company’s decision affirmatively to waive the DADW standstill provision in each
 27
    of the confidentiality agreements, none of the parties to the confidentiality agreements
 28
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  1 can approach Del Taco to request a waiver of the standstill in order to present an offer
  2 to purchase shares of Del Taco in a consensual merger or other form that might
  3
      constitute an acquisition proposal under Section 6.02 of the Merger Agreement with
  4
  5 Jack in the Box. See Ancestry, Consol. C.A. No. 7988, at 178-79 (“if the seller for
  6 some inattentive reason doesn’t waive the non-waiver provision, and you don’t tell the
  7
      stockholders that, and you’re also advertising that there is the ability for people to make
  8
  9 a superior proposal, and then you’re leading the stockholders to believe that the people
 10 who are legally precluded from even requesting a waiver are within the category of
 11
    people who can make the offer, that strikes me as misleading, because it’s not in fact
 12
 13 the case. Because there’s ten parties in the world who would have to breach an
 14 obligation in order to even request the ability to put on the table a potentially superior
 15
    proposal. And people are voting in ignorance to that. It’s not just an ordinary
 16
 17 standstill.”).
 18         34.    The omission of this material information renders the statements in the
 19
      “Background of the Merger” and “Recommendation of the Del Taco Board of
 20
 21 Directors and Reasons for the Merger” sections of the Proxy Statement false and/or
 22 materially misleading in contravention of the Exchange Act.
 23
    Material Omissions Concerning Piper’s Potential Conflicts of Interest
 24
 25         35.    The Proxy Statement fails to disclose material information concerning the
 26 potential conflicts of interest faced by Piper.
 27
 28
                                  - 20 -
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  1         36.    The Proxy Statement sets forth that a large portion of Piper’s fee is

  2 contingent on the consummation of the Proposed Transaction. See Proxy Statement at
  3
      47. The Proxy Statement, however, fails to quantify the amount of Piper’s fee that is
  4
  5 contingent on closing of the Proposed Transaction.
  6         37.    Additionally, the Proxy Statement fails to disclose whether Piper has
  7
      performed any past services for Jack in the Box and, if so, the fees received by Piper
  8
  9 for performing these services.
 10         38.    The omission of this material information renders the statements in the
 11
      “Opinion of Del Taco’s Financial Advisor” section of the Proxy Statement false and/or
 12
 13 materially misleading in contravention of the Exchange Act.
 14         39.    The Individual Defendants were aware of their duty to disclose the above-
 15
      referenced omitted information and acted negligently (if not deliberately) in failing to
 16
 17 include this information in the Proxy Statement. Absent disclosure of the foregoing
 18 material information prior to the stockholder vote on the Proposed Transaction,
 19
    Plaintiff and the other stockholders of Del Taco will be unable to make an informed
 20
 21 voting or appraisal decision in connection with the Proposed Transaction and are thus
 22 threatened with irreparable harm warranting the injunctive relief sought herein.
 23
 24
 25
 26
 27
 28
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  1                                  CLAIMS FOR RELIEF

  2                                          COUNT I
  3          Claims Against All Defendants for Violations of Section 14(a) of the
  4               Exchange Act and Rule 14a-9 Promulgated Thereunder
  5         40.   Plaintiff repeats all previous allegations as if set forth in full.
  6
            41.   During the relevant period, defendants disseminated the false and
  7
  8 misleading Proxy Statement specified above, which failed to disclose material facts
  9 necessary to make the statements, in light of the circumstances under which they were
 10
    made, not misleading in violation of Section 14(a) of the Exchange Act and SEC Rule
 11
 12 14a-9 promulgated thereunder.
 13         42.   By virtue of their positions within the Company, the defendants were
 14
      aware of this information and of their duty to disclose this information in the Proxy
 15
 16 Statement. The Proxy Statement was prepared, reviewed, and/or disseminated by the
 17 defendants. It misrepresented and/or omitted material facts, including material
 18
    information about the background of the Proposed Transaction and Del Taco’s
 19
 20 potential conflicts of interest. The defendants were at least negligent in filing the Proxy
 21 Statement with these materially false and misleading statements.
 22
          43. The omissions and false and misleading statements in the Proxy Statement
 23
 24 are material in that a reasonable stockholder would consider them important in deciding
 25 how to vote on the Proposed Transaction.
 26
 27
 28
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  1         44.    By reason of the foregoing, the defendants have violated Section 14(a) of

  2 the Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.
  3
            45.    Because of the false and misleading statements in the Proxy Statement,
  4
  5 Plaintiff is threatened with irreparable harm, rendering money damages inadequate.
  6 Therefore, injunctive relief is appropriate to ensure defendants’ misconduct is
  7
      corrected.
  8
  9                                          COUNT II

 10                     Claims Against the Individual Defendants for
                        Violations of Section 20(a) of the Exchange Act
 11
 12         46.    Plaintiff repeats all previous allegations as if set forth in full.

 13         47.    The Individual Defendants acted as controlling persons of Del Taco within
 14
      the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their
 15
 16 positions as officers and/or directors of Del Taco, and participation in and/or awareness
 17 of the Company’s operations and/or intimate knowledge of the false statements
 18
    contained in the Proxy Statement filed with the SEC, they had the power to influence
 19
 20 and control and did influence and control, directly or indirectly, the decision-making
 21 of the Company, including the content and dissemination of the various statements
 22
    which Plaintiff contends are false and misleading.
 23
 24         48.    Each of the Individual Defendants was provided with or had unlimited
 25 access to copies of the Proxy Statement and other statements alleged by Plaintiff to be
 26
 27
 28
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  1 misleading prior to and/or shortly after these statements were issued and had the ability
  2 to prevent the issuance of the statements or cause the statements to be corrected.
  3
            49.   In particular, each of the Individual Defendants had direct and supervisory
  4
  5 involvement in the day-to-day operations of the Company, and, therefore, is presumed
  6 to have had the power to control or influence the particular transactions giving rise to
  7
      the securities violations as alleged herein, and exercised the same.       The Proxy
  8
  9 Statement at issue contains the unanimous recommendation of each of the Individual
 10 Defendants to approve the Proposed Transaction. They were, thus, directly involved
 11
    in the making of the Proxy Statement.
 12
 13        50. In addition, as the Proxy Statement sets forth at length, and as described

 14 herein, the Individual Defendants were each involved in negotiating, reviewing, and
 15
    approving the Proposed Transaction. The Proxy Statement purports to describe the
 16
 17 various issues and information that they reviewed and considered—descriptions the
 18 Company directors had input into.
 19
          51. By virtue of the foregoing, the Individual Defendants have violated
 20
 21 Section 20(a) of the Exchange Act.
 22         52.   As set forth above, the Individual Defendants had the ability to exercise
 23
      control over and did control a person or persons who have each violated Section 14(a)
 24
 25 and SEC Rule 14a-9, promulgated thereunder, by their acts and omissions as alleged
 26 herein. By virtue of their positions as controlling persons, these defendants are liable
 27
 28
                                  - 24 -
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  1 pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of
  2 defendants’ conduct, Del Taco’s stockholders will be irreparably harmed.
  3
                                    PRAYER FOR RELIEF
  4
  5         WHEREFORE, Plaintiff demands judgment and preliminary and permanent

  6 relief, including injunctive relief, in her favor on behalf of Del Taco, and against
  7
      defendants, as follows:
  8
  9         A.    Preliminarily and permanently enjoining defendants and all persons acting

 10               in concert with them from proceeding with, consummating, or closing the
 11
                  Proposed Transaction and any vote on the Proposed Transaction, unless
 12
 13               and until defendants disclose and disseminate the material information

 14               identified above to Del Taco stockholders;
 15
            B.    In the event defendants consummate the Proposed Transaction, rescinding
 16
 17               it and setting it aside or awarding rescissory damages to Plaintiff;
 18         C.    Declaring that defendants violated Sections 14(a) and/or 20(a) of the
 19
                  Exchange Act, as well as SEC Rule 14a-9 promulgated thereunder;
 20
 21         D.    Awarding Plaintiff the costs of this action, including reasonable allowance
 22               for Plaintiff’s attorneys’ and experts’ fees; and
 23
            E.    Granting such other and further relief as this Court may deem just and
 24               proper.
 25
                                        JURY DEMAND
 26
 27         Plaintiff demands a trial by jury on all claims and issues so triable.

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